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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

SECURITIES AND EXCHANGE                    §
COMMISSION                                 §
                                           §
v.                                         §   CIVIL NO. 4:21-CV-994-SDJ
                                           §
TIMOTHY BURROUGHS                          §

                                       ORDER

      Before
       .     the Court is Plaintiff’s Unopposed Motion to Stay Litigation, (Dkt. #32).

The Court, having considered the motion, concludes that it should be granted.

      It is therefore ORDERED that the motion is GRANTED.

      It is further ORDERED that all proceedings in this case are STAYED

pending further order of the Court. The parties are directed to file a status report

with the Court every sixty days advising of the status of the parties’ settlement

efforts. The first status report is due by July 9, 2023.

           So ORDERED and SIGNED this 11th day of May, 2023.




                                                       ____________________________________
                                                       SEAN D. JORDAN
                                                       UNITED STATES DISTRICT JUDGE
